                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION


 UNITED STATES OF AMERICA

 v.                                            CAUSE NO. 1:22-cr-58-LG-RHWR-1

 PATRICK DARNELL DANIELS, JR.


                  MEMORANDUM OPINION AND ORDER
               DENYING DEFENDANT’S MOTION TO DISMISS

      BEFORE THE COURT is the [24] Motion to Dismiss filed by Defendant,

Patrick Darnell Daniels, Jr. The Government filed a [27] Response, to which

Defendant [28] replied. This Defendant is under indictment for knowingly

possessing a firearm while an unlawful user of a controlled substance, in violation

of 18 U.S.C. § 922(g)(3). Defendant has filed the instant [24] Motion to Dismiss the

indictment, arguing that 18 U.S.C. § 922(g)(3), is unconstitutional under the Second

Amendment and pursuant to the Supreme Court’s recent decision in New York

State Rifle & Pistol Assoc., Inc. v. Bruen, --- S.Ct. ---, 2022 WL 2251305 (June 23,

2022). The Court has conducted a hearing on the matter and after due consideration

of the arguments of counsel, the record, and the applicable law, finds that the

Motion should be denied.

                                     DISCUSSION

I.    Second Amendment Framework

      Defendant argues that this case must be dismissed because section 922(g)(3)

is unconstitutional under the Second Amendment to the United States Constitution.

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Therefore, to rule of this Motion, the Court must analyze and apply Second

Amendment jurisprudence as articulated by the Supreme Court.

      The Second Amendment provides: “A well regulated Militia, being necessary

to the security of a free State, the right of the people to keep and bear Arms, shall

not be infringed.” U.S. Const. amend. II. In District of Columbia v. Heller, 554 U.S.

570 (2008), the Supreme Court concluded, after thorough textual and historical

analysis, that the Second Amendment confers “an individual right to keep and bear

arms.” Id. at 595. The Court was quick to note that “[l]ike most rights, the right

secured by the Second Amendment is not unlimited.” Id. at 626. Relevant here, the

Court stated that “nothing in our opinion should be taken to cast doubt on

longstanding prohibitions on the possession of firearms by felons and the mentally

ill.” Id. In a footnote, the Supreme Court classified these traditional restrictions on

firearm possession as a non-exhaustive list of “presumptively lawful regulatory

measures.” Id. at 627 n. 26. The Supreme Court went on to strike down a law in

the District of Columbia which “totally bans handgun possession in the home.” Id.

at 628. In doing so, the Supreme Court conducted a historical analysis of handgun

restrictions in the United States and found the D.C. restriction to be novel in its

severity, targeting “the quintessential self-defense weapon.” Id. at 629.

      In New York State Rifle & Pistol Assoc., Inc. v. Bruen, --- S.Ct. ---, 2022 WL

2251305 (June 23, 2022), the Supreme Court again considered the contours of the

Second Amendment right to bear arms. The Court characterized its earlier

decisions as “recogniz[ing] . . . the right of an ordinary, law-abiding citizen to



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possess a handgun in the home for self-defense.” Id. at 5. The Court was called

upon to assess the constitutionality of a New York licensing scheme which allowed

authorities to deny concealed-carry permits even where an applicant met certain

threshold criteria. Id. at 5-6. In doing so, the Court clarified and explained the

methodology to be used in addressing Second Amendment claims. The Court

rejected “a ‘two-step’ framework” involving “means-end scrutiny” in use by various

appellate courts and instead clarified that the appropriate methodology centers “on

constitutional text and history.” Id. at 7-10. Hence, to answer Second Amendment

questions, courts must “assess whether modern firearms regulations are consistent

with the Second Amendment’s text and historical understanding.” Id. at 12. In

other words:

      In keeping with Heller, we hold that when the Second Amendment’s
      plain text covers an individual’s conduct, the Constitution
      presumptively protects that conduct. To justify its regulation, the
      government may not simply posit that the regulation promotes an
      important interest. Rather, the government must demonstrate that
      the regulation is consistent with this Nation’s historical tradition of
      firearm regulation. Only if a firearm regulation is consistent with this
      Nation’s historical tradition may a court conclude that the individual's
      conduct falls outside the Second Amendment's “unqualified command.”

Id. (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n. 10 (1961)).

      On the second prong of the Bruen test, the Court said: “‘historical analysis

can be difficult; it sometimes requires resolving threshold questions, and making

nuanced judgments about which evidence to consult and how to interpret it.’” Id. at

11 (quoting McDonald v. City of Chicago, 561 U.S. 742, 803-04 (2010) (Scalia, J.,

concurring)). This analysis will often require the use of “historical analogies,”

whether because of “unprecedented societal concerns or dramatic technological
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changes.” Bruen, 2022 WL 2251305, at 12. Thus, “[w]hen confronting such present-

day firearm regulations, this historical inquiry that courts must conduct will often

involve reasoning by analogy.” Id. at 13. “[E]ven if a modern-day regulation is not

a dead ringer for historical precursors, it still may be analogous enough to pass

constitutional muster.” Id.1

II.   Application to Section 922(g)(3)

      The Court now applies the Second Amendment framework outlined in Bruen

to the criminal statute at issue. Section 922(g)(3) provides that “[i]t shall be

unlawful for any person . . . (3) who is an unlawful user of or addicted to any

controlled substance . . . [to] possess in or affecting commerce, any firearm or

ammunition.” 18 U.S.C. § 922(g)(3).

      1.     Textual Analysis

      The Court begins with the textual coverage of the Second Amendment. On

this subject the Supreme Court has read “the Amendment’s operative clause,” that

“‘the right of the people to keep and bear Arms shall not be infringed,’” to mean that

“‘guarantees the individual right to possess and carry weapons in case of

confrontation’ that does not depend on service in the militia.” Bruen, 2022 WL




1 The opinion gives an example of analogical reasoning in the case of location-based
firearm restrictions. Because there are historical analogues to modern “laws
forbidding the carrying of firearms in sensitive places such as schools and
government buildings,” Heller, 554 U.S. at 626, even though such analogues may
have protected relatively few “sensitive places,” still, “courts can use analogies to
those historical regulations of ‘sensitive places’ to determine that modern
regulations prohibiting the carry of firearms in new and analogous sensitive places
are constitutionally permissible.” Bruen, 2022 WL 2251305, at 14.
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2251305, at 9 (quoting Heller, 554 U.S. at 592). Because section 922(g)(3) restricts

the “possess[ion]” of “any firearm or ammunition,” the Court concludes that section

922(g)(3) regulates conduct which is facially covered by the plain text of the Second

Amendment. See 18 U.S.C. § 922(g)(3).

      The Court notes for the purpose of comprehensiveness that Bruen describes

“ordinary, law-abiding, adult citizens” as indisputably “part of ‘the people’ whom the

Second Amendment protects.” Id. at 14; see also id. at 12 (“The Second Amendment

. . . ‘surely elevates above all other interests the right of law-abiding, responsible

citizens to use arms’ for self-defense.”) (quoting Heller, 554 U.S. at 635). In fact, the

Court specifically limited its decision to “may-issue” licensing regimes; it did not

“suggest the unconstitutionality” of the “shall-issue” licensing regimes in use by 43

states, which “are designed to ensure only that those bearing arms in the

jurisdiction are, in fact ‘law-abiding, responsible citizens.’” Bruen, 2022 WL

2251305, at 18 n. 9. Because it is concerned with “unlawful” drug users and

addicts, there is some doubt that section 922(g)(3) is textually covered by the Second

Amendment, insofar as it has been interpreted to guarantee the right to keep and

bear arms to ordinary, law-abiding, responsible citizens concerned with self-defense.

See Roberge v. United States, No. 1:04CR70, 1:10CV273, 2013 WL 4052926, at *17

(E.D. Tenn. Aug. 12, 2013) (“Persons like Roberge, who unlawfully use controlled

substances, are not law abiding, responsible citizens. Roberge can be lawfully

prohibited from possessing firearms while he is engaging in criminal conduct by




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using methamphetamine.”); see also United States v. Campbell, No. 4:18CR23, 2020

WL 699821, at *4 (E.D. Tenn. Feb. 11, 2020).

      2.     Historical Analysis

      To be certain, the Court will review historical research into statutes in the

American legal tradition which are analogous to § 922(g)(3). Heller explicitly

cautioned readers not to “doubt . . . longstanding prohibitions on the possession of

firearms by felons and the mentally ill.” Heller, 554 U.S. at 626. Such regulatory

measures are “presumptively lawful.” See id. at 627 n. 26. The Supreme Court

echoed this in McDonald v. Chicago, 561 U.S. 742, 786 (2010) (“We repeat those

assurances here,” namely, “that our holding did not cast doubt on such longstanding

regulatory measures as ‘prohibitions on the possession of firearms by felons and the

mentally ill.’”) (quoting Heller, 554 U.S. at 626). “In addition, Heller demonstrates

that a regulation can be deemed ‘longstanding’ even if it cannot boast a precise

founding-era analogue.” Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco,

Firearms & Explosives, 700 F.3d 185, 196 (5th Cir. 2012) (citing United States v.

Skoien, 614 F.3d 638, 640 (7th Cir. 2010)).

      In a pre-Heller case, the Fifth Circuit characterized § 922(g)(3) as a “‘limited,

narrowly tailored specific exception’” to the Second Amendment right which is “not

inconsistent with the right of Americans generally to individually keep and bear

their private arms as historically understood in this country.” United States v.

Patterson, 431 F.3d 832, 835-36 (5th Cir. 2005) (quoting United States v. Emerson,




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270 F.3d 203, 261 (5th Cir. 2001)).2 The Fifth Circuit tethered its holding to the

high-risk nature of drug abusers—“Congress may prohibit those who pose a risk to

society, like felons, from exercising the right to bear arms,” and “unlawful users of

controlled substances pose a risk to society if permitted to bear arms.” Patterson,

431 F.3d at 835-836. In an earlier decision, the Fifth Circuit had drawn upon

numerous law review articles and other secondary sources to establish that §

922(g)’s restriction on possession of firearms by felons—another high-risk class—

has a long and established history in English and American common law. Emerson,

270 F.3d at 226 n. 21.3 The Fifth Circuit reaffirmed this holding in a post-Heller

decision in 2013. See United States v. May, 538 F. App’x 465, 466 (5th Cir. 2013)

(citing Patterson, 431 F.3d at 836); see also United States v. Moreno, 811 F. App’x

219, 223 (5th Cir. 2020) (upholding Sentencing Guideline § 2D1.1(b)(1), which

“increases a base offense level by two levels ‘if a dangerous weapon (including a

firearm) was possessed’ in the course of an offense involving drugs,” because “drug

traffickers pose a risk to society that is enhanced by their possession firearms” and

the enhancement “harmonizes with historical traditions regarding the Second

Amendment”) (emphasis in original). District courts in the Fifth Circuit have also

upheld the constitutionality of § 922(g)(3) since Heller.4


2 See also United States v. Roach, 201 F. App’x 969, 974 (5th Cir. 2006) (repeating
this holding).
3 See also Nat’l Rifle Ass’n, 700 F.3d at 200-04 (discussing the historical foundations

of modern firearm restrictions and noting “revolutionary and founding-era gun
regulations . . . that targeted particular groups for public safety reasons”).
4 See, e.g., Piscitello v. Bragg, No. EP-08-CA-266-KC, 2009 WL 536898, at *3 (W.D.

Tex. Feb. 18, 2009).

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      Other circuit courts have likewise upheld the constitutionality of § 922(g)(3)

under Heller’s standards of history and tradition. For instance, the Eighth Circuit

collected various cases which found that § 922(g)(3) fell within Heller’s

presumptively lawful category of historically attested firearm restrictions. See

United States v. Seay, 620 F.3d 919, 924-25 (8th Cir. 2010) (holding that “§ 922(g)(3)

has the same historical pedigree as other portions of § 922(g) which are repeatedly

upheld by numerous courts since Heller”); see also United States v. Dugan, 657 F.3d

998, 999 (9th Cir. 2011) (adopting the reasoning of Seay and Yancey, discussed

infra, that § 922(g)(3) “embodies a long-standing prohibition of conduct similar to

the examples listed in Heller”); United States v. Richard, 350 F. App’x 252, 260

(10th Cir. 2009) (upholding § 922(g)(3) as one of the “‘presumptively lawful

regulatory measures’” mentioned in Heller).

      Perhaps the most robust discussion of the historicity of § 922(g)(3) is

contained in United States v. Yancey, 621 F.3d 681 (7th Cir. 2010). In that case, the

Seventh Circuit began by noting that “[i]t was not until 1968 that Congress barred

the mentally ill from possessing guns, and it was in that same legislation that

habitual drug users were prohibited from having guns.” Id. at 683 (citing Gun

Control Act of 1968, Pub. L. 90-618, § 102, 82 Stat. 1213, 1220). However,

Congress’s disarmament of drug abusers did not occur in a vacuum; rather, “many

states” had theretofore “restricted the right of habitual drug abusers or alcoholics to

possess or carry firearms.” Yancey, 621 F.3d at 684. “These statutes demonstrate

that Congress was not alone in concluding that habitual drug abusers are unfit to



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possess firearms.” Id. And these prohibitions “are merely the latest incarnation of

the states’ unbroken history of regulating the possession and use of firearms dating

back to the time of the amendment’s ratification.” Id.

      The Seventh Circuit analogized disarmament of drug abusers to

disarmament of felons, though it noted a debate in legal scholarship as to the extent

to which felons were disarmed in American legal tradition. Id. at 684. The Court

cited cases from the nineteenth century upholding statutes which disarmed

“tramps,” see State v. Hogan, 58 N.E. 572 (Ohio 1900), and “intoxicated persons,” see

State v. Shelby, 2 S.W. 468 (Mo. 1886). The Seventh Circuit ultimately concluded:

“Whatever the pedigree of the rule against even nonviolent felons possessing

weapons . . . most scholars of the Second Amendment agree that the right to bear

arms was tied to the concept of a virtuous citizenry and that, accordingly, the

government could disarm ‘unvirtuous citizens.’” Id. at 684-85 (citing United States

v. Vongxay, 594 F.3d 1111, 1118 (9th Cir. 2010)).5 With the historical conclusion




5 See also Nat’l Rifle Ass’n, 700 F.3d at 201, where, while summarizing the
historical evidence relating to disarmament of dangerous persons, the Fifth Circuit
said: “[t]hese categorical restrictions may have been animated by a classical
republican notion that only those with adequate civic ‘virtue’ could claim the right
to arms.” Id. “Scholars have proposed that at the time of the founding, ‘the right to
arms was inextricably and multifariously linked to that of civic virtu[e] (i.e., the
virtuous citizenry),’ and that ‘one implication of this emphasis on the virtuous
citizen is that the right to arms does not preclude laws disarming the unvirtuous
citizens (i.e., criminals) or those who, like children or the mentally imbalanced, are
deemed incapable of virtue.” Id. (citing Don B. Kates & Clayton E. Cramer, Second
Amendment Limitations and Criminological Considerations, 60 HASTINGS L. J.
1339, 1359 (2009)). This observation comports with the Supreme Court’s
statements that the Second Amendment, as a threshold matter, covers only
ordinary and responsible law-abiding citizens.
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that dangerous or unvirtuous citizens could be disarmed, the Seventh Circuit

produced sources corroborating Congress’s finding that drug abusers are more likely

to engage in gun violence and more likely to exhibit a dangerous lack of self-control.

Id., the Court found § 922(g)(3) constitutional.

                                      CONCLUSION

      The Court finds that the analysis in Yancey demonstrates the historical

attestation demanded by the Bruen framework. The appellate courts observe that

“Congress enacted the exclusions in § 922(g) to keep guns out of the hands of

presumptively risky people,” Yancey, 621 F.3d at 683, and enumerated unlawful

drug users and addicts amongst other similar classes. The Court need not repeat

the Seventh Circuit’s historical analysis in Yancey; it suffices to show that

analogous statutes which purport to disarm persons considered a risk to society—

whether felons or alcoholics—were known to the American legal tradition. See, e.g.,

United States v. Carter, 669 F.3d 411, 415 (4th Cir. 2012) (“Placed in the wrong

hands, firearms present a grave threat to public safety, and for this reason, the

Anglo-American right to bear arms has always recognized and accommodated

limitations for persons perceived to be dangerous.”). The Court therefore finds that

18 U.S.C. § 922(g)(3) passes constitutional muster under the legal framework

articulated in Heller and Bruen.

      IT IS THEREFORE ORDERED AND ADJUDGED that the [24] Motion to

Dismiss filed by Defendant, Patrick Darnell Daniels, Jr. is DENIED.




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SO ORDERED AND ADJUDGED this the 8th day of July, 2022.


                                 s/   Louis Guirola, Jr.
                                 LOUIS GUIROLA, JR.
                                 UNITED STATES DISTRICT JUDGE




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